Case 3:13-cr-00023-RLY-MPB Document 62 Filed 09/25/20 Page 1 of 1 PageID #: 185



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                EVANSVILLE DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
                            Plaintiff,            )
                                                  )
                       v.                         )     No. 3:13-cr-00023-RLY-MPB
                                                  )
DAVID J. NALLEY,                                  ) -01
                                                  )
                            Defendant.            )



             ORDER ADOPTING REPORT AND RECOMMENDATION

       The Magistrate Judge submitted his Report and Recommendation on USPO Petition

for Action on Conditions of Supervised Release. The parties were afforded due

opportunity pursuant to statute and the rules of this court to file objection; none were filed.

The court, having considered the Magistrate Judge’s Report and Recommendation, hereby

ADOPTS the Magistrate Judge’s Report and Recommendation.

SO ORDERED this 25th day of September 2020.




Distributed Electronically to Registered Counsel of Record
